

	
	
	
	2020 Opinions – Supreme Court of Georgia




		
		
		
		
				

		
		
		
		
		

									
									
		
	

























		
		
	


		Skip to content

	
		
		
			
			
			
				
					

	
							
				HomeFAQContact UsTwitter			
			


 
	
		
							
			

						
			

			
					
		

			
					
	

								
							
		
		
		
			
			
					
	
	
		
			Court InformationCourtAttorney AdmissionsClerk’s OfficeDirectionsCourt TermsHolidaysHistoryToursAttend Oral ArgumentsWatch Oral ArgumentsMediaPurchase Certificates, Opinions and DVD’sEmployment OpportunitiesNews and ReportsBiographiesChief Justice Harold D. MeltonPresiding Justice David E. NahmiasJustice Keith R. BlackwellJustice Michael P. BoggsJustice Nels S.D. PetersonJustice Sarah H. WarrenJustice Charles J. BethelJustice John J. EllingtonCertificates &amp; ReportsLaw School Graduate CertificateReciprocity/Court of Last Resort CertificatesLegal Education Committee ReportQuick LinksDomestic Relations CasesLegal WebsitesPauper’s AffidavitOral Argument Calendar2020 Summaries of Cases2019 Summaries of Cases2018 Summaries of Cases2017 Summaries of Cases2016 Summaries of CasesDocketGranted and Denied Petitions2020 Granted2019 Granted2020 Denied2019 Denied2018 Granted2018 Denied2017 Granted2017 DeniedGranted Applications2020 Discretionary2019 Discretionary2020 Interlocutory2019 Interlocutory2018 Interlocutory2017 InterlocutoryOpinionsForthcoming Opinions2020 Opinions2019 Opinions2018 Opinions2017 OpinionsRulese-fileRule 3.15 FormSuperior Court Rule 39.3.1 Information


					
	
 
				
				
			
						
			
		
					
				
			
			
				
	
		
			

																			Opinion and Summaries

									
				
			

										
		
	

			

						
				

					
			2020 OpinionsWeb Editor2020-04-06T10:41:29-04:00
			
			
				DISCLAIMER:
These opinions are subject to the parties’ motion for reconsideration, the Court’s reconsideration, and editorial changes made by the Reporter of Decisions.&nbsp; An opinion designated as “Final Copy” is the Supreme Court’s official opinion as published in the advance sheets.&nbsp; Please Note: Adobe Acrobat Reader is necessary to read the following opinions. You may download Adobe Acrobat Reader here if necessary. Thank you.
April
April 6, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19C1565. HOLZHEUSER v. THE STATE
S19G0473. SRM GROUP, INC. v. TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA
S20A0082. THE STATE v. HOLLAND
S20A0104. McGARITY v. THE STATE
S20A0153. DRESBACH v. THE STATE
S20A0159. ROSEBORO v. THE STATE
S20A0202. HATNEY v. THE STATE
S20A0218. HUDSON v. THE STATE
S20A0226. FRAZIER v. THE STATE
S20A0251. WATTS v. THE STATE
S20A0252. ENSSLIN v. THE STATE
S20A0268. HALL v. THE STATE
S20A0273. MARTIN v. THE STATE
S19Y1450. IN THE MATTER OF MATTHEW A. DICKASON
S20Y0209. IN THE MATTER OF MUHAMMAD ABDUL-WARIT ABDUR-RAHIM
S20Y0312. IN THE MATTER OF JARED MICHAEL ARRINGTON
S20Y0814. IN THE MATTER OF BARRY WAYNE ROREX 4-6-2020 Substitute opinion issued.
S20Y0815. IN THE MATTER OF ANDREW DAVID TAYLOR

March
March
March 26, 2020

S20Y0421. IN THE MATTER OF MARTA MARIA NORIEGA-ALLEN


March
March 13, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19A1130, S19X1131. THE STATE v. GATES (and vice versa)
S19A1163. WILLIAMS v. DEKALB COUNTY et al.
S19A1253. STUBBS v. HALL
S19A1410. THE STATE v. REMY
S19A1506. WATKINS v. BALLINGER
S20A0026. MATTOX v. THE STATE
S20A0027. WILSON v. THE STATE
S20A0058. GLENN v. THE STATE
S20A0115. MOORE v. THE STATE
S20A0173. BUNDEL v. THE STATE
S20A0214. CORLEY v. THE STATE
S20A0232. SIMMONS v. THE STATE
S20A0248. THE STATE v. GOFF
S20A0372. JONES v. THE STATE
S20Y0679. IN THE MATTER OF MARC CELELLO

February
February 28, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S18G1436. HILL, KERTSCHER &amp; WHARTON LLP et al. v. MOODY et al.
S19G0278. BOWEN et al. v. SAVOY et al.
S19G0422. DEPARTMENT OF PUBLIC SAFETY v. RAGSDALE
S19A1052, S19A1054. BAMBERG v. THE STATE
S19A1098. SMITH v. THE STATE
S19A1120. WESTBROOK v. THE STATE
S19A1341. SAWYER v. THE STATE
S19A1361. McELRATH v. THE STATE
S19A1363. THE STATE v. HAMILTON
S19A1403. WILKINS v. THE STATE
S19A1404. JOHNSON v. THE STATE
S19A1411. CALHOUN v. THE STATE
S19A1448. HOGAN v. THE STATE
S19A1474, S19A1475. DEBELBOT v. THE STATE (two cases)
S19A1496. HYDEN v. THE STATE
S19A1498. PARHAM v. STEWART
S19A1577. EDWARDS v. THE STATE
S19A1579. TOLBERT v. THE STATE
S19A1580. KILPATRICK v. THE STATE
S20Y0065, S20Y0066, S20Y0067. IN THE MATTER OF JULIANNE WESLEY HOLLIDAY


February
February 10, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S18G1549. LEE v. SMITH, II
S18G1638. COEN v. APTEAN, INC. et al.
S19G0005. THE STATE v. WILLIAMS
S19A1044. GITTENS v. THE STATE
S19A1145. THE STATE v. BRYANT
S19A1147. MITCHELL v. THE STATE
S19A1182. HOWELL v. THE STATE
S19A1203. CITY OF ATLANTA et al. v. ATLANTA INDEPENDENT SCHOOL SYSTEM
S19A1257. WHITE v. THE STATE
S19A1261. MORGAN v. THE STATE 2-10-2020 Substitute opinion issued.
S19A1299, S19X1300. DELOACH v. THE STATE (and vice versa) 3-13-2020 Substitute opinion issued.
S19A1330. MITCHELL v. THE STATE
S19A1424. THE STATE v. LANE
S19A1503. THOMAS v. THE STATE
S19A1520. WALKER v. THE STATE
S19A1571. NAPLES v. THE STATE
S19A1588. TAYLOR v. THE STATE
S19A1637. LONDON v. THE STATE
S20A0306. RICHARDSON v. THE STATE
S20Y0257. IN THE MATTER OF MELVIN T. JOHNSON

January
January 31, 2020

S18Y0350. IN THE MATTER OF CHRISTOPHER AARON CORLEY&nbsp; Reinstatement issued.

January
January 27, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19G0125. WILLIAMS v. THE STATE
S19G0394. DAVIS v. THE STATE
S19A1148. SMITH v. THE STATE
S19A1250. WILLIAMS v. THE STATE
S19A1256. MANN v. THE STATE
S19A1261. MORGAN v. THE STATE 2-10-2020 Substitute opinion issued.
S19A1266. ALLEN v. THE STATE
S19A1301. MOSLEY v. THE STATE
S19A1302. REDDING v. THE STATE
S19A1345, S19A1346. STEPHENS v. THE STATE (two cases)
S19A1397. MCCLUSKEY v. THE STATE
S19A1432. DAVIS v. THE STATE
S19A1476. TAYLOR v. THE STATE
S19A1492. RICH v. THE STATE 1-27-2020 Substitute opinion issued.
S19A1518. RAMMAGE v. THE STATE
S19A1570. JACKSON v. THE STATE
S19A1592. WELLS v. THE STATE

January
January 13, 2020 – SUMMARIES for NOTEWORTHY OPINIONS

S19A1004. WHITE v. THE STATE
S19A1005. DOYLE v. THE STATE
S19A1079. THE STATE v. STEPHENS et al.
S19A1151. FLOWERS v. THE STATE
S19A1187. DAVIS v. THE STATE
S19A1284. GASTON v. THE STATE
S19A1298. DRIVER v. THE STATE
S19A1427. SWIMS v. THE STATE
S19A1493, S19A1494. FLOYD v. THE STATE
S19A1551. BANKSTON v. THE STATE
S19A1572. HARRIS v. THE STATE
S19A1573. CHAVEZ v. THE STATE
S19A1641. PERDOMO v. THE STATE
S19Y1650. IN THE MATTER OF RICHARD M. COLBERT
S20Y0434. IN THE MATTER OF DAVID GODLEY RIGDON


							
																													
	
						
					  
				  
				
				
								
					
		
					
	
		
			
				
																									
							LocationSupreme Court of Georgia
Nathan Deal Judicial Center
330 Capitol Avenue, S.E.
1st Floor, Suite 1100
Atlanta, Georgia 30334
Phone: (404) 656-3470
Fax: (404) 656-2253
DIRECTIONS
																					
																										
							Quick LinksForthcoming Opinions
Docket Search
Watch Oral Arguments
Media
Purchase
Rule 3.15 Form
Rule 3.15 Search
																					
																										
							Oral Argument CalendarCurrent Monthapril 2020Oral Arguments
				20apr10:00 am5:00 pmOral ArgumentsOral Arguments
				21apr10:00 am5:00 pmOral ArgumentsOral Arguments
				22apr10:00 am5:00 pmOral ArgumentsOral Arguments
				23apr10:00 am5:00 pmOral ArgumentsOral Arguments
				24apr2:00 am5:00 pmOral ArgumentsView&nbsp; Calendar
																					
																										
											News and Reports		
											
					3/31/2020 – HIGH COURT APPROVES RULES TO KEEP COURTS OPEN AND ACCESSIBLE
									
											
					3/27/2020 – GA SUPREME COURT TO HOLD VIRTUAL COURT SESSION
									
											
					3/23/2020 – Order Entered for Case Numbers S20M1012, S20M1020
									
											
					3/17/2020 – GEORGIA SUPREME COURT SUSPENDS FILING DEADLINES
									
					
		View All News and Reports
																					
																											
				
			 
		 
	 

	
	
		
			

				
		
		© 2020 Supreme Court of Georgia All Rights Reserved | Privacy | E-Verify ID	


			 
		 
	 
		 

		
					
											

												 
		 
		
		
		
		

		
							
							
																			
							
								
									X
									 
								
														
						
					
					













































































































































				
						
	
